Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 1 of 19 PageID #:82




                  EXHIBIT 1
                        TO COMPLAINT
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 2 of 19 PageID #:83
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 3 of 19 PageID #:84
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 4 of 19 PageID #:85
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 5 of 19 PageID #:86
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 6 of 19 PageID #:87
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 7 of 19 PageID #:88
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 8 of 19 PageID #:89
                REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 9 of 19 PageID #:90
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 10 of 19 PageID #:91
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 11 of 19 PageID #:92
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 12 of 19 PageID #:93
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 13 of 19 PageID #:94
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 14 of 19 PageID #:95
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 15 of 19 PageID #:96
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 16 of 19 PageID #:97
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 17 of 19 PageID #:98
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 18 of 19 PageID #:99
                 REDACTED
Case: 1:24-cv-01889 Document #: 1-2 Filed: 03/06/24 Page 19 of 19 PageID #:100
